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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Civil Action No# 2:18-cv-05174-AB

APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT PURSUANT TO
LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

] APPLICANT’S STATEMENT

E LAYNE E. KRUSE the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and | hereby apply for admission to practice in this court

 

 

 

 

 

 

pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number . for the $40.00 admission
fee.

A. | state that | am currently admitted to practice in the following state jurisdictions:

Texas 11/06/1978 11742550

(State where admitted) (Admission date) (Attorney Identification Number)

District of Columbia 03/11/2016 1031130

(State where admitted) (Admission date) (Attorney Identification Number)

(State where admitted) (Admission date) (Attorney Identification Number)

B. | state that | am currently admitted to practice in the following federal jurisdictions:

SEE ATTACHMENT

(Court where admitted) (Admission date) (Attorney Identification Number)

(Court where admitted) (Admission date) (Attorney Identification Number)

(Court where admitted) (Admission date) (Attorney Identification Number)

ei ] state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney of

this court uprightly and according to law, and that I will support and defend the Constitution of the United States.

 

J am entering my appearance for Jiffy Lube International, Inc.

XE, FS Ker

(Applicant’s Signature)

 

04/11/2019
(Date)

 

APPLICANT'S FIRM NAME / ADDRESS / TELEPHONE NUMBER:
Norto Rose Fulbright US LLP

1301 McKinney, Suite 5100, Houston TX 77010-3095
Telephone: (713) 651-5151; Facsimile: (713) 651-5246

 

Sworn and subscribed before me this

 
  
 
     
 
   

  

KATHY AKIN STEWART

Notary Public, State of Texas

Commission Expires
JULY 28, 2022

Notary ID 4 388616-5 10/04
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02/19/91
10/01/81
04/16/93
04/30/09
03/11/16
03/29/82
12/29/95
12/01/88
12/31/85
11/06/78

LAYNE KRUSE COURT ADMISSIONS

United States Supreme Court

United States Court of Appeals for the Fifth Circuit

United States Court of Appeals for the Ninth Circuit

United States Court of Appeals for the D.C. Circuit

District of Columbia

United States District Court for the Eastern District of Texas
United States District Court for the Northern District of Texas
United States District Court for the Western District of Texas
United States District Court for Southern District of Texas

Texas Supreme Court and all state courts in Texas
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Il, SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

 

The undersigned member of the bar of the United States District Court for the Eastern
District of Pennsylvania hereby moves for the admission of ___ LAYNE E. KRUSE to
practice in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or
after reasonable inquiry believe) that the applicant is a member in good standing of the above-
referenced state and federal courts and that the applicant’s private and personal character is good. |
certify that this application form was on-thi enailed, with postage prepaid, to all interested
counsel. SF f

     
  
 

Andrea L. D'Ambra
Sponsor’s Name

10/18/2004 93385

Admission date Attorney
Identification No.

SPONSOR'S OFFICE ADDRESS AND TELEPHONE NUMBER:
Norton Rose Fulbright US LLP

1301 Avenue of the Americas, New York, NY 10019-6022

(212) 318-3015

Sworn and subscribed before me this

 

Cortifeata Pilod tn Now York
Commission Expires Feb. 17, a
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VICTOR FUENTES, ET AL. CIVIL ACTION

Vv.

ROYAL DUTCH SHELL PLC, ET AL.
NO. 2:!8-cv-05174-AB

CERTIFICATE OF SERVICE
I declare under penalty of perjury that a copy of the application of____ LAYNE E. KRUSE
Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant

proposed Order which, if granted, would permit such practice in this court was served as follows:

GEORGE W. SAMPSON, Seattle WA for plaintiff; JOHN A. YANCHUNIS, Tampa FL
for plaintiff; KEVIN CLANCY BROWN, Philadelphia PA for plaintiff, and

MICHAEL L. SHRAG, Oakland CA for plaintiff.

   

ignature of Attorney

Andrea L. D'Ambra
Name of Attorney

 

Jiffy Lube International, Inc.
Name of Moving Party

Lf i814

Date!

 
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APPENDIX X

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VICTOR FUENTES, ET AL. . CIVIL ACTION

Vv.

ROYAL DUTCH SHELL PLC, ET AL. ug. zleandsivias

ORDER

 

AND NOW, this Day of , 2019 , it is hereby

ORDERED that the application of LAYNE E. KRUSE , Esquire, to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b) is

GRANTED.

1 DENIED.

 
